The Honorable Matt Blunt Missouri Secretary of State James C. Kirkpatrick State Information Center 600 West Main Street Jefferson City, MO  65101
Dear Secretary Blunt:
On March 28, 2002, you submitted to us a summary statement for the initiative petition submitted by Husch  Eppenberger relating to the transportation (version 1).  The summary statement, prepared pursuant to Section 116.334, RSMo 2000, is as follows:
  Shall the Missouri Constitution be amended to impose an additional motor fuel tax of five cents per gallon and additional sales and use taxes of five-eighths of one percent, with the new revenues to be used for highway and transportation purposes, such as improving the conditions of state and local highways, bridges and public transportation, and providing funding for the highway patrol, such additional taxes to be in effect for ten years, to be extended only by a vote of the people?
Pursuant to Section 116.334, we approve the legal content and form of the proposed statement.  Since our review of the statement is mandated by statute, no action we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Sincerely,
                                   JEREMIAH W. (JAY) NIXON Attorney General